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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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MARIE WALTER,
                                   Plaintiff,
                     vs                                    1:05-CV-01167

MARY BOEHM; CINDY HASKINS; DINEEN
RIVIEZZO; MICHAEL BOXER; OFFICE OF
THE NEW YORK STATE INSPECTOR
GENERAL; and THE STATE OF NEW YORK,

                                   Defendants.

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APPEARANCES:                                               OF COUNSEL:

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DAVID N. HURD
United States District Judge

                          MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

        Plaintiff Marie Walter ("Walter" or "plaintiff") brings this action against Mary Boehm

("Boehm"), Cindy Haskins ("Haskins"), Dineen Riviezzo ("Riviezzo"), Michael Boxer ("Boxer"),

the Office of the New York State Inspector General (“OIG”), and the State of New York.
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Walter asserts two claims. First, under 42 U.S.C. § 1983 ("§ 1983"), she alleges that her

First and Fourteenth Amendment rights were violated when defendants terminated her

employment in retaliation for engaging in speech that is protected by the United States

Constitution. Second, Walter alleges that her rights under § 201-d of the New York State

Labor Law, which protects employees from discrimination based on political activities, were

violated when defendants terminated her employment.

         Defendants moved for summary judgment pursuant to Federal Rule of Civil

Procedure 56. Plaintiff opposed. Oral argument was heard on January 3, 2007, by video

motion in Utica and Albany, New York. Decision was reserved.

II. FACTS

         The following facts are undisputed unless otherwise noted.1

         Walter was employed as a senior investigator with the OIG. Defendants Boehm,

Haskins, Riviezzo, and Boxer all work in the OIG. At the time relevant to the complaint,

defendants held the following positions: Boehm was Chief Deputy to the Inspector General;

Haskins was Director of Administration for the Inspector General; Riviezzo was Inspector

General; and Boxer was First Executive Deputy to the Inspector General. The OIG is a

department of the Executive Branch of the State of New York. The Inspector General,

Riviezzo, reports to and serves at the pleasure of the Governor.

         In March 2005, Riviezzo was privately approached by the Governor's Office and was

told that the Governor intended to appoint her to the Inspector General position. In May


           1
              Walter denies the relevant outcomes of most of the meetings and conversations that she was
  not a party to. She additionally denies that Riviezzo reached any mental conclusions, regarding the
  necessity to terminate plaintiff and others, prior to the date she was terminated. However, the
  do cu m en ted pro of sp ea ks fo r itself.

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2005, Riviezzo was told by the Counsel to the Governor that she would be appointed as

Inspector General in or about early June 2005, after she returned from her two week

vacation.

          On May 17, 2005, Riviezzo met with Boxer and Dennis Martin ("Martin") to discuss

her upcoming appointment and her office restructuring plan. Riviezzo and Martin took notes.

(See Docket No. 16-7 at 33-34 (Riviezzo's notes reflecting the decision to terminate Walter);

Docket No. 16-7 at 35-36 (Martin's notes reflecting the decision to terminate Walter).) At this

meeting, they identified seven employees for termination, including Walter. They discussed

moving Walter to a position in Intake,2 but Riviezzo did not want to move her to Intake so

they decided to terminate plaintiff.3 Riviezzo testified that, "at the end of the meeting [her]

instructions were that Marie Walter, Ann Palillo, Patty Patterson, Mark Slagen, Jean Walsh

and Fran Fullerton were going to be terminated." (Docket No. 16-1 at 36.) These individuals

were being targeted for termination because they added the least amount of value to the

office and, in order to restructure the office, Riviezzo needed to make a certain number of

position lines and a certain amount of money available in the budget. Id. at 44. Riviezzo

instructed Martin and Boxer to begin implementing the terminations and other organizational

changes while she was on vacation, before she was officially appointed as Inspector

General. Id. at 46.




            2
                As indica ted by "Intake" w ritten b y ne xt to W alter's nam e. (Plaintiff's exhibit 11.)

            3
              As indicated by the circle around Walter's name on Riviezzo's sheet (Plaintiff's exhibit 10) and
  the box around her nam e on M artin's sheet (Plaintiff's exhibit 11). Earlier in the me eting, Riviezzo
  ind ica ted th os e e m plo ye es tha t w er e n ot co ns ide re d fo r te rm ina tion b y m ar kin g a da sh ne xt to the ir
  nam e; W alter doe s no t have a da sh n ext to he r nam e. (Plaintiff's exhibit 10.)

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         The next day, May 18, 2005, Boxer met with Haskins and asked her to meet with

staff in the Division of the Budget regarding the OIG's proposed terminations and salary

revisions. That day, Haskins met with Division of the Budget staff members Susan Oligny

("Oligny") and Joan Hope ("Hope"). Oligny took notes at the meeting that reflected the

decision to terminate Walter. (See Docket No. 16-18 at 1; Docket No. 16-19 at 1.)

         Boxer sent an e-mail to OIG staff on May 23, 2005, entitled "Office Reorganization."

(See Docket No. 16-7 at 32.) The e-mail made the staff aware of possible salary

adjustments and terminations within their department. Id. Walter received this e-mail and

understood that the reorganization could effect her personally.

         During the week of June 6, 2005, employees of the OIG received an interoffice e-

mail informing them that a Deputy Inspector General in the Buffalo Office, Joseph Giglio, was

selected to fill a vacant Assembly seat for the Buffalo area.

         On or about June 8, 2005, plaintiff was asked by Boehm if she would be interested

in attending a political fund-raiser for Mr. Giglio. The fund-raising event was to be held on

June 21, 2005, at the Albany Pump Station and the cost of attending was seventy-five

dollars. Plaintiff replied that she did not think it was appropriate for a supervisor to solicit

political donations from a subordinate on State time and property; she particularly stressed

this in the case of the OIG. Boehm said that Haskins was organizing the fund-raising event

and that she had asked Boehm to solicit people to attend. Boehm testified that she asked

Walter if she wanted to attend the fund-raising event because she knew plaintiff was a friend

of Mr. Giglio's and she did not want plaintiff to feel left out. Later that day, one of Walter's co-

workers told Boehm that plaintiff was uncomfortable with the discussion that had occurred

between them.

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         On June 10, 2005, Boehm called plaintiff into her office to discuss her concerns

regarding plaintiff's objection to a supervisor soliciting political donations from a subordinate

on State time and property. Boehm again indicated that Haskins was organizing the

fund-raising event. On or about the same day, Riviezzo returned from her 2 week vacation

and was appointed to the Inspector General position. Martin told Riviezzo that they did not

move forward with the terminations because, when Boxer spoke with Haskins, Haskins told

him that people did not need to be terminated in order for the OIG to hire additional people.

         On June 13, 2005, Riviezzo began to interview people for management and auditor

positions that would be created as a result of the OIG restructuring plan. As she began

making offers, Riviezzo wanted to make sure that she had enough funds and position lines

available to make the offers without terminating any of the existing staff. On June 14, 2005,

Riviezzo addressed the OIG staff and told them that terminations would not be necessary.

However, on June 17, 2005, Riviezzo asked Martin to have Haskins fax her information on

the department budget and position lines available after the recent offers. (See Docket No.

16-7 at 47-50.) The fax showed that, with the new hires, the OIG was running a deficit of

$36,000 and had exceeded the number of available position lines by two. Id. Riviezzo

testified that this information convinced her that she would need to return to the original

termination plan that they had developed on May, 17, 2005. Additionally, Riviezzo withdrew

an offer she had already made to one candidate.

         Riviezzo testified that, though she was already convinced that she would have to

move forward with the terminations, she spent the following week convincing her staff that

the terminations were necessary. On June 20, 2005, Haskins faxed Riviezzo a

memorandum that stated that she believed the OIG could use money from the nonpersonal

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service budget and transfer it into the personal service budget in order to avoid terminating

existing employees. (See Docket No. 16-7 at 51-52.) Haskins gave Riviezzo another

document on the following day that reflected one-time budget savings that would allow them

to avoid terminating any existing employees. (See Docket No. 16-7 at 55-56.) Riviezzo

reviewed the documents, but felt that Haskin's proposal was not a responsible way to

manage a budget. Martin suggested that she meet with Budget Examiner Timothy Eskeli

("Eskeli") in the Division of the Budget and Riviezzo agreed to do so.

         On June 21, 2005, Riviezzo made a written list of four employees to be terminated,

including the plaintiff. That evening, the political fund-raising event was held as planned.

Walter did not attend. Boxer, Riviezzo, Haskins, and others employed by the OIG attended.

         On June 22, 2005, Riviezzo met with Eskeli regarding the OIG's budget after the

proposed restructuring. She took notes at the meeting that reflected a potential budgetary

shortfall of $2.8 billion in the New York State budget and a directive to each department to

withhold 2.5 percent of General Fund monies. (See Docket No. 16-7 at 53-54.) On the

same day, Riviezzo and Boxer learned that Walter was telling other employees that they had

violated the Hatch Act by attending the fund-raising event. Riviezzo testified that this

conversation "took 30 seconds and that was the end of it," there was no decrease in the

efficiency of the office or interruption to the workplace. (Docket No. 16-3 at 29.)

         Walter never complained regarding Boehm's political solicitation to either Boxer or

Riviezzo. According to defendants, neither Boxer nor Riviezzo knew that Boehm had

approached Walter until this lawsuit was filed.

         The day after her June 22, 2005, meeting with Eskeli, Riviezzo met with Boxer,

Haskins, and other senior staff in order to finalize the terminations. Haskins was told to

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process the termination paperwork for Walter and three other OIG employees. Later that

day, plaintiff's employment was terminated. Defendants did not announce the termination to

her. Rather, Joseph Flynn ("Flynn"), Walter's direct supervisor, announced her termination.

Plaintiff alleges that Flynn did not have the authority to terminate her employment, only

defendants had the authority to do so. Plaintiff was told that she was terminated due to

"restructuring" in the OIG. (Docket No. 1, 4.)

         Walter alleges that there were a number of positions remaining, or were

subsequently created, in the OIG that she could have filled. Before she was terminated,

plaintiff had been rated an "effective" performer. Id. Prior to her termination, she was not

given any reason to believe that her employment would be terminated.

III. SUMMARY JUDGMENT STANDARD

         Summary judgment must be granted when the pleadings, depositions, answers to

interrogatories, admissions and affidavits show that there is no genuine issue as to any

material fact, and that the moving party is entitled to summary judgment as a matter of law.

Fed. R. Civ. P. 56; Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S. Ct. 2505,

2509-10 (1986); Richardson v. N.Y. State Dep't of Corr. Servs., 180 F.3d 426, 436 (2d Cir.

1999); Lang v. Retirement Living Pub. Co., 949 F.2d 576, 580 (2d Cir. 1991). The moving

party carries the initial burden of demonstrating an absence of a genuine issue of material

fact. Fed. R. Civ. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 2552

(1986); Thompson v. Gjivoje, 896 F.2d 716, 720 (2d Cir. 1990). Facts, inferences therefrom,

and ambiguities must be viewed in a light most favorable to the nonmovant. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986);

Richardson, 180 F.3d at 436; Project Release v. Prevost, 722 F.2d 960, 968 (2d Cir. 1983).

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         When the moving party has met the burden, the nonmoving party "must do more

than simply show that there is some metaphysical doubt as to the material facts." Matsushita

Elec. Indus. Co., 475 U.S. at 586, 106 S. Ct. at 1356. At that point, the nonmoving party

"must set forth specific facts showing that there is a genuine issue for trial." Fed. R. Civ. P.

56; Liberty Lobby, Inc., 477 U.S. at 250, 106 S. Ct. at 2511; Matsushita Elec. Indus. Co., 475

U.S. at 587, 106 S. Ct. at 1356. A plaintiff "cannot defeat summary judgment on a retaliation

claim merely by impugning [a defendant's] honesty." McCullough v. Wyandanch Union Free

Sch. Dist., 187 F.3d 272, 280 (2d Cir. 1999). To withstand a summary judgment motion,

sufficient evidence must exist upon which a reasonable jury could return a verdict for the

nonmovant. Liberty Lobby, Inc., 477 U.S. at 248-49, 106 S. Ct. at 2510; Matsushita Elec.

Indus. Co., 475 U.S. at 587, 106 S. Ct. at 1356.

         Moreover, material facts set forth in the movant's statement required by the local

rules are deemed admitted unless controverted in the nonmovant's statement in opposition.

L.R. 7.1(a)(3). Thus, no genuine issue exists as to facts set forth in a movant's 7.1

Statement if the nonmovant fails to put such facts into controversy by a response in

opposition to the summary judgment motion. See id.

IV. DISCUSSION

         A. Section 1983 Claim

         Defendants move for summary judgment on Walter's § 1983 claim on the grounds

that: (1) the complaint fails to state a First Amendment claim of retaliation; (2) she fails to

allege personal involvement by Boxer, Boehm, and Haskins in any alleged constitutional

violation; (3) and the Eleventh Amendment bars the claim against the State of New York and



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the OIG.4 Section 1983 gives private citizens the right to sue the government for

constitutional violations. Id.

          1. First Amendment Free Speech Retaliation Claim

          a. Standard of Review

          The First Amendment provides: "Congress shall make no law . . . abridging the

freedom of speech . . . ." U.S. Const. amend. I. Determining whether speech is protected by

the First Amendment is a question of law. Connick v. Meyers, 461 U.S. 138 n. 7, 150, 103 S.

Ct. 1684 n. 7, 1692 (1983) (citing Pennekamp v. Florida, 328, U.S. 331, 335, 66 S. Ct. 1029,

1031 (1946)).

          A government employer may not take adverse actions against a public employee in

retaliation for speech that is a matter of public concern and is protected by the First

Amendment. Connick, 461 U.S. at 140, 103 S. Ct. at 1686. However, a government's ability

to regulate speech as an employer "differ[s] significantly from those it possesses in

connection with regulation of the speech of the citizenry in general.”5 Pickering v. Bd. of

Educ., 391 U.S. 563, 568, 88 S. Ct. 1731, 1734 (1968). In order to make a First Amendment

retaliation claim, a plaintiff must demonstrate the following by a preponderance of the

evidence: "(1) his speech was constitutionally protected; (2) he suffered an adverse

employment decision; and (3) a causal connection exists between his speech and the



           4
              W alter as se rted this c au se of a ction un de r bo th th e F irst an d F ou rtee nth Am en dm en ts.
  However, the Fourteenth Amendm ent was included only insofar as it makes the First Amendm ent
  ap plica ble to th e S tate of N ew Yo rk a nd the O IG .

            5
              Given the wide range of scenarios in which statements by public employees may be grounds
  for dismissal or other adverse employment action, the Supreme Court has declined to "lay down a
  gen eral stand ard a gains t which a ll such statem ents m ay b e judg ed." Pickering, 391 U.S. at 569, 88 S.
  C t. at 17 31 .

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adverse employment determination against him, so that it can be said that his speech was a

motivating factor in the determination." Morris v. Lindau, 196 F.3d 102, 110 (2d Cir. 1999)

(citing Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 283-87, 97 S. Ct.

568, 574-76 (1977)).

         i. Protected Speech

         The First Amendment gives government employees a "limited right . . . to speak on

matters of public concern." Sheppard v. Beerman, 317 F.3d 351, 355 (2d Cir. 2003) (citing

Connick, 461 U.S. at 140, 103 S. Ct. at 1686). Because this right is limited, to establish the

first element, that the speech was constitutionally protected, a plaintiff must establish the

following sub-elements: (1) that their speech can be "fairly characterized as constituting

speech on a matter of public concern"; and (2) that "the value of the speech" as a matter of

public concern outweighs its "potential to disrupt the employer's operations." Harris v.

Merwin, 901 F. Supp. 509, 511-12 (N.D.N.Y. 1995) (citations omitted). Generally, speech is

considered of public concern and protected by the First Amendment when it addresses "any

matter of political, social, or other concern to the community." Connick, 461 U.S. at 146, 103

S. Ct. at 1684. To determine whether, as a matter of law, the speech is a matter of public

concern, its "content, form and context" must be examined by taking the entire record into

consideration. Id. at 147-48, 103 S. Ct. at 1690.

         In order to determine whether the value of the speech outweighs its potential to

disrupt the employer's operations, the court must balance the "interests of the [employee], as

a citizen, in commenting upon matters of public concern and the interest of the State, as an

employer, in promoting the efficiency of the public services it performs through its

employees." Pickering, 391 U.S. at 568, 88 S. Ct. at 1734. Specifically, the government

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employer must show that the speech interfered with "the effective and efficient fulfillment of

its responsibilities to the public." Connick, 461 U.S. at 150, 103 S. Ct. at 1692; Frank v.

Relin, 1 F.3d 1317, 1329 (2d Cir. 1993).

         ii. Adverse Employment Action

         The second element is satisfied if a plaintiff can prove that they suffered "discharge,

refusal to hire, refusal to promote, demotion, reduction in pay, [or] reprimand." Morris, 196

F.3d at 110 (citing Kaluczky v. City of White Plains, 57 F.3d 202, 208 (2d Cir. 1995)). The

Second Circuit has also suggested that lesser actions may also be considered adverse

employment actions. See Bernheim v. Litt, 79 F.3d 318, 327 (2d Cir. 1996).

         iii. Causal Connection

         To satisfy the third element, a plaintiff must establish that "the speech was a

substantial or motivating factor behind the discharge" or adverse employment action. Harris,

901 F. Supp. at 512. The causal connection between a plaintiff's speech and the adverse

employment action may be inferred. Morris, 196 F.3d at 110 (citing Mount Healthy City Sch.

Dist. Bd. of Educ., 429 U.S. at 287, 97 S. Ct. at 576).

         b. Discussion

         i. Walter's Protected Speech

         To determine whether, as a matter of law, Walter's speech is protected, the

substance of her speech must be examined by taking the entire record into consideration.

See Connick, 461 U.S. at 147-48, 103 S. Ct. at 1690. The speech plaintiff engaged in, and

she alleges is protected by the First Amendment, was that on two occasions she told Boehm

that she did not think it was appropriate for a supervisor to solicit political donations from a



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subordinate on State time and property and she particularly stressed this in the case of the

OIG.

         Thereafter, she participated in discussions with co-OIG employees regarding the

appropriateness of soliciting OIG employees to attend the fund-raising event. She also told

co-workers that they would be violating the Hatch act by attending the fund-raising event.

After the fund-raising event was held as planned and plaintiff did not attend, she told co-

workers they had violated the Hatch act. Plaintiff makes no claim that these discussions with

co-employees are protected speech.

         Since Walter is a government employee, the First Amendment protects only her

limited right to speak on matters of public concern without adverse employment action. See

Sheppard, 317 F.3d at 355 (citing Connick, 461 U.S. at 140, 103 S. Ct. at 1686). Viewing the

facts in the light most favorable to plaintiff, Walter's speech to Boehm, her superior, objecting

to political solicitations, is speech on a matter of public concern because it addresses a

possible violation of a State statute and/or ethics requirements by government employees, a

topic of political concern to the community. See Connick, 461 U.S. at 146, 103 S. Ct. at

1690. While Walter's subsequent discussions with her co-workers regarding the

appropriateness of soliciting OIG employees to attend the fund-raising event and her opinion

that they were violating the Hatch act by attending the fund-raising event occurred on State

time and property had the potential to disrupt the OIG they, in fact, did not. Therefore such

concerns do not outweigh the value of her speech. See Harris, 901 F. Supp. at 511-12.

Accordingly, Walter's speech to Boehm on June 8 and 10, 2005, is protected by the First

Amendment.



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         ii. Adverse Employment Action Against Walter

         Walter suffered an adverse employment action when she was terminated from the

OIG on June 23, 2005. See Morris, 196 F.3d at 110 (citing Kaluczky, 57 F.3d at 208).

         iii. Causal Connection

         Even if a causal connection between Walter's protected speech and her termination

may be inferred, she still must demonstrate that her speech "was a substantial or motivating

factor behind the discharge." Harris, 901 F. Supp. at 512; see Morris, 196 F.3d at 110 (citing

Mount Healthy City Sch. Dist. Bd. of Educ., 429 U.S. at 287, 97 S. Ct. at 576). To defeat a

motion for summary judgment, Walter "must set forth specific facts showing that there is a

genuine issue for trial." Fed. R. Civ. P. 56; Liberty Lobby, Inc., 477 U.S. at 250, 106 S. Ct. at

2511; Matsushita Elec. Indus. Co., 475 U.S. at 587, 106 S. Ct. at 1356. She does not do so.

         Walter's initial discussion with Boehm regarding the impropriety of a supervisor

soliciting political donations from a subordinate on State time and property, particularly in the

case of the OIG, occurred on June 8, 2005. On June 10, 2005, plaintiff and Boehm had a

another discussion regarding Walter's objections, but no adverse employment action is

alleged to have occurred until her termination two weeks later. No additional communication

is alleged to have occurred between plaintiff and defendants regarding her objections to her

political solicitation. Further, plaintiff has offered no direct evidence that Riviezzo knew of her

objections to the solicitation. (Walter Dep., Docket No. 16-8 at 34-38.) The basis for

Walter's belief that she was terminated in retaliation for her protected speech is the timing of

her termination, two days after the fund-raising event took place and one day after Riviezzo

was informed of her Hatch Act discussions with co-employees. Id. at 37-38. However, when



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plaintiff was terminated on June 23, 2005, she was told that she was terminated due to

"restructuring." (Docket No. 1, 4.)

         Although plaintiff was terminated two days after the fund-raising event, the

termination was two weeks after the protected speech with Boehm. Therefore, the timing of

her termination alone is not sufficient to warrant an inference that her protected speech "was

a substantial or motivating factor behind the discharge." Harris, 901 F. Supp. at 512; see

Morris, 196 F.3d at 110 (citing Mount Healthy City Sch. Dist. Bd. of Educ., 429 U.S. at 287,

97 S. Ct. at 576). This is particularly true in view of other uncontradicted evidence that the

initial decision to terminate plaintiff and others was made over three weeks in advance of

Walter's protected speech, the speech which she maintains caused her termination. Since

the initial decision to terminate was made in advance of her protected speech, she has not

established the required causal connection because "[t]here can be no causal link where the

alleged adverse action predated the protected activity." Barry v. Town of Elma, No. 02-CV-

344, 2005 WL 711842, at *4 (W.D.N.Y. March 28, 2005).

         The sum of the evidence presented is as follows: (1) May 17, 2005--Riviezzo,

Boxer, and Martin met and identified Walter and others for termination (see Docket No. 16-7

at 33-34 (Riviezzo's notes reflecting the decision to terminate Walter); Docket No. 16-7 at 35-

36 (Martin's notes reflecting the decision to terminate Walter)); (2) May 18, 2005--Boxer

spoke with Haskins and asked her to speak with officers in the Division of the Budget

regarding the proposed terminations and salary revisions, Haskins then met with Division of

the Budget staff members Oligny and Hope, and Oligny took notes that reflected the decision

to terminate Walter (see Docket No. 16-18 at 1 (Oligny's notes from her meeting with

Haskins); Docket No. 16-19 at 1 (a roster of employees in the OIG marked by Oligny on May

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18, 2005)); (3) May 23, 2005--Walter received a department-wide e-mail from Boxer

regarding the OIG restructuring and potential terminations (see Docket No. 16-7 at 32); (4)

June 8, 2005--Boehm approached Walter regarding the political fund-raising event and

Walter objected (protected speech); (5) June 10, 2005--Boehm spoke with Walter regarding

her concerns about being solicited by Boehm while at work (protected speech); (6) between

June 8 and June 22--Walter discussed the solicitation, the fund-raiser, and the Hatch Act

with co-employees; (7) between June 10, 2005, and June 21, 2005--several meetings took

place regarding whether the proposed terminations were necessary (see Docket No. 16-7 at

47-50 (fax from Haskins to Martin regarding the proposed terminations); Docket No. 16-7 at

55-56 (document given by Haskins to Riviezzo, on June 21, 2005, reflecting one-time budget

savings and the proposed terminations)); (8) June 14, 2005--Riviezzo addressed the OIG

staff and advised them that terminations would not be necessary for reorganization; (9) June

17, 2005--Riviezzo decided terminations would be necessary; (10) June 21, 2005--Walter

and three other employees were placed on a termination list (Ex. 14 Riviezzo Dep.); the

fund-raising event took place as scheduled, Walter did not attend but Boxer, Riviezzo,

Haskins, and other employees of the OIG attended; (11) June 22, 2005--Riviezzo met with

Budget Examiner Eskeli regarding the OIG budget after the proposed restructuring (see

Docket No. 16-7 at 53-54 (Riviezzo's notes from her meeting with Eskeli, reflecting potential

budgetary shortfall and directive to withhold funds)); Riviezzo and Boxer learned of Walter's

discussions with other employees regarding attendance at the political fund-raiser and the

Hatch Act; and (12) June 23, 2005--Riviezzo met with Boxer, Haskins, and other senior staff

in order to finalize the terminations; Haskins was told to process the paperwork; Flynn was

told to terminate Walter due to restructuring, requests to terminate three other OIG

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employees were processed; and Flynn terminated Walter and told her it was due to

restructuring within the OIG.

         As demonstrated by the sum of evidence set forth above, in addition to their sworn

testimony, defendants have produced physical evidence that substantiates their claim that

Walter's termination was not related to her protected speech with Boehm. Rather,

defendants show that on May 17, 2005, they identified plaintiff for termination and the

plaintiff's initial protected speech with Boehm did not take place until June 8, 2005. Although

the actual termination took place two days after the fund-raising event, and one day after

Riviezzo was informed of plaintiff's non-protected speech, plaintiff was identified for

termination well in advance of her protected speech. She was placed on a list for termination

(with three other employees) before Riviezzo even learned about plaintiff's non-protected

speech with co-employees.

         In addition, there is little or no evidence that the decision maker, Riviezzo, knew of

plaintiff's protected speech at the time of termination. Of course, if she had no knowledge of

the protected speech it could not have played a part in her decision to terminate Walter. In

that regard, plaintiff attempts to co-mingle two separate events--her protected speech (i.e.,

objections to being solicited by her superior for a political fund-raiser) and her non-protected

speech (i.e., later discussions with co-employees about attendance at the fund-raiser and the

Hatch Act). Riviezzo and Boxer admit knowledge of the latter events. There is no direct

evidence that either had knowledge of the former event. Plaintiff's only argument is that

knowledge of the latter equals knowledge of the former. Apparently she wishes to imply that

because Riviezzo knew about her Hatch Act discussions she must also have known about

her political solicitation objections. Even if this implication was true (which is doubtful) such a

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thin reed of circumstantial evidence is insufficient to raise a question of fact for a jury that

Riviezzo knew of plaintiff's objections to her being solicited by Boehm and that this

information was a substantial or motivating factor in the decision to terminate her.

         Although summary judgment is not appropriate when there are questions of fact

regarding the employer's motive; the record demonstrates that Walter's protected speech did

not play a part in Riviezzo's decision to terminate her. See Morris, 196 F.3d at 110. She was

treated the same as the three other terminated employees.

         While Walter satisfies the first two elements of a First Amendment claim of

retaliation, even viewing the facts in the light most favorable to plaintiff, she is not able to

show that a sufficient causal connection exists between her protected speech and her

termination.

         Therefore, defendants' motion for summary judgment, with respect to Walter's

§ 1983 claim, will be granted.

         2. Eleventh Amendment Bar on § 1983 Claim Against the State

         The Eleventh Amendment provides that, "the Judicial power of the United States

shall not be construed to extend to any suit in law or equity, commenced or prosecuted

against one of the United States by Citizens of another State, or by Citizens or Subjects of

any Foreign State." U.S. Const. amend. XI. A state is immune from suits in federal court

that are brought by its citizens, unless that state consents. See Edelman v. Jordan, 415 U.S.

651, 662-63, 94 S. Ct. 1347, 1355 (1974); McGinty v. New York, 251 F.3d 84, 91 (2d Cir.

2001). Additionally, "state agencies acting under its control" enjoy the protection of Eleventh

Amendment immunity. P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139,

144, 113 S. Ct. 684, 687-88 (1993). The OIG has been recognized as an entity that is

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entitled to Eleventh Amendment immunity. Cf. Hall v. Ruggeri, 841 F. Supp. 484, 486

(N.D.N.Y. 1994) (granting a motion to dismiss claims against the OIG and other state entities

based on their Eleventh Amendment immunity).

         Defendants' motion for summary judgment with respect to Walter's § 1983 claim will

be granted. However, defendants' motion could be granted on alternate grounds, with

respect to the claim against the State of New York and the OIG, because the Eleventh

Amendment provides immunity from suits in federal court that are brought by its citizens.

See Edelman, 415 U.S. at 662-63, 94 S. Ct. at 1355; McGinty, 251 F.3d at 91.

         Therefore, defendants' motion for summary judgment, with respect to the § 1983

claim against the State of New York and the OIG, will be granted, on this additional ground.

         B. Pendent State Law Claim

         Defendants argue both that the complaint fails to state a claim under State Labor

Law and that the supplemental state claim should be dismissed.

         Supplemental jurisdiction may be exercised over state law claims "that are so

related to claims in the action within such original jurisdiction that they form part of the same

case or controversy under Article III of the United States Constitution." 28 U.S.C. § 1367(a).

Supplemental jurisdiction permits the adjudication of federal and state law claims together if

they are between the same parties and they "derive from a common nucleus of operative fact

or are of such a nature that the parties would normally be expected to try them in one judicial

proceeding." Federman v. Empire Fire & Marine Ins. Co., 597 F.2d 798, 808 (2d Cir. 1979)

(citing United Mine Workers v. Gibbs, 383 U.S. 715, 725, 86 S. Ct. 1130, 1138 (1966)). If the

district court has dismissed all the claims over which it has original jurisdiction, the district

court may decline to extend supplemental jurisdiction over the state law claims. Id. at 809.

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         Because the § 1983 cause of action will be dismissed, it is appropriate to decline

supplemental jurisdiction over the state law claim.

IV. CONCLUSION

         Walter satisfies the first two elements of a First Amendment claim of retaliation.

However, even viewing the facts in the light most favorable to her, she is not able to show a

causal connection between her protected speech and her termination. The evidence in favor

of the plaintiff fails to demonstrate that her protected speech with Boehm regarding political

solicitation on State time and property by a superior to a subordinate was a substantial or

motivating factor in her termination. Accordingly, defendants' motion for summary judgment

with respect to plaintiff's § 1983 claim must be granted.

         Defendants alternatively move for summary judgment, with respect to the claims

against Boehm, Haskins, and Boxer on the grounds that plaintiff has alleged no personal

involvement by them in her termination. Because defendants' motion for summary judgment

will be granted with respect to the § 1983 claim, this issue need not be reached. Though

defendants' motion for summary judgment with respect to the § 1983 claim will be granted,

the § 1983 claim against the State of New York and the OIG must also be dismissed on the

additional ground that they have Eleventh Amendment immunity.

         Supplemental jurisdiction over the state law claim will be declined.

         Therefore, it is




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        ORDERED that

        1. Defendants’ motion for summary judgment with respect to the § 1983 claim is

GRANTED;

        2. The federal § 1983claim is DISMISSED; and

        3. The state law claim is DISMISSED without prejudice.

        The Clerk of the Court is directed to enter judgment accordingly.

        IT IS SO ORDERED.




Dated: August 15, 2007
       Utica, New York.




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